                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE


JEAN-NICOLAS TREMBLAY,
                                                 Case No.
Individually and On Behalf of All Others
Similarly Situated,
                                                 CLASS ACTION COMPLAINT
                                 Plaintiff,

                      v.
                                                 JURY TRIAL DEMANDED

CLOVER HEALTH INVESTMENTS,
CORP. f/k/a SOCIAL CAPITAL
HEDOSOPHIA HOLDINGS CORP. III,
VIVEK GARIPALLI, ANDREW TOY,
CHAMATH PALIHAPITIYA, STEVEN
TRIEU, IAN OSBORNE, JACQUELINE
D. RESES, and JAMES RYANS,

                                 Defendants.


       Plaintiff Jean-Nicolas Tremblay (“Plaintiff”), individually and on behalf of all others

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the

investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the Defendants’ public documents, conference calls and announcements made

by Defendants, United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings,

wire and press releases published by and regarding Clover Health Investments, Corp. f/k/a Social

Capital Hedosophia Holdings Corp. III (“SCH”, “Clover”, or the “Company”), analysts’ reports

and advisories about the Company, and information readily obtainable on the Internet. Plaintiff

believes that substantial additional evidentiary support will exist for the allegations set forth

herein after a reasonable opportunity for discovery.

                                                1

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 1 of 25 PageID #: 1
                                  NATURE OF THE ACTION

        1.       This is a federal securities class action on behalf of a class consisting of all

persons and entities other than Defendants that purchased or otherwise acquired Clover securities

between October 6, 2020 and February 3, 2021, both dates inclusive (the “Class Period”),

seeking to recover damages caused by Defendants’ violations of the federal securities laws and

to pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its

top officials.

        2.       SCH was a publicly-traded blank check company, also known as a special

purpose acquisition company (“SPAC”), formed for the purpose of effecting a merger, share

exchange, asset acquisition, share purchase, reorganization, or similar business combination with

one or more businesses.

        3.       On October 6, 2020, SCH and a private health insurance company, Clover Health

Investments, Corp. (“Legacy Clover”), issued a press release announcing their plan to bring

Legacy Clover public via a merger between SCH and Legacy Clover (the “Business

Combination”). That press release described Legacy Clover as “a next-generation Medicare

Advantage insurance company offering best-in-class plans that combine wide access to

healthcare and rich supplemental benefits with low out-of-pocket expenses[.]”

        4.       Legacy Clover’s (and following the Business Combination, Clover’s) flagship

platform, the Clover Assistant, purportedly aggregates millions of relevant health data points—

including claims, medical charts, and diagnostics—and uses machine learning to synthesize that

data with member-specific information. This purportedly provides physicians with actionable

and personalized insights at the point of care, offering suggestions for medications and dosages



                                                 2

      Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 2 of 25 PageID #: 2
as well as the need for, among other things, tests or referrals, to ultimately improve health

outcomes.

       5.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) SCH had

performed inadequate due diligence into Legacy Clover prior to the Business Combination, or

else ignored and/or failed to disclose multiple red flags concerning Legacy Clover’s business and

operations; (ii) since before the Business Combination, Legacy Clover and/or Clover have been

under active investigation by the U.S. Department of Justice (“DOJ”) for multiple issues ranging

from kickbacks to marketing practices to undisclosed third-party deals; (iii) Legacy Clover’s

and/or Clover’s sales were, and/or are, driven in large part by an undisclosed related party deal,

misleading marketing targeting the elderly, and other illicit practices; (iv) Defendants overstated

the capabilities of the Company’s technology; and (v) as a result, the Company’s public

statements were materially false and misleading at all relevant times.

       6.      On February 4, 2021, Hindenburg Research (“Hindenburg”) issued a report on

Clover entitled “Clover Health: How the ‘King of SPACs’ Lured Retail Investors Into a Broken

Business Facing an Active, Undisclosed DOJ Investigation.”           Citing “more than a dozen

interviews with former employees, competitors, and industry experts, dozens of calls to doctor’s

offices, and a review of thousands of pages of government reports, insurance filings, regulatory

filings, and company marketing materials,” Hindenburg claimed that “Clover Health and its Wall

Street celebrity promoter, Chamath Palihapitiya, misled investors about critical aspects of

Clover’s business in the run-up to the company’s SPAC go-public transaction last month.”




                                                3

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 3 of 25 PageID #: 3
       7.     Specifically, the Hindenburg report concluded, among other things, that the

Company and Clover Assistant “are under active investigation by the [DOJ]” for “at least 12

issues ranging from kickbacks to marketing practices to undisclosed third-party deals”; that

“Clover’s sales are driven by a major undisclosed related party deal and misleading marketing

targeting the elderly”; that “Clover’s software is primarily a tool to help the company increase

coding reimbursement”; that doctors at key Clover providers view Clover Assistant as

“embarrassingly rudimentary”, “a waste of . . . time”, and just another administrative hassle to

deal with; and that Clover pays physicians “$200 per visit to use the software, twice the normal

reimbursement rate for a Medicare visit.”

       8.     On this news, Clover’s stock price fell $1.72 per share, or 12.33%, to close at

$12.23 per share on February 4, 2021, representing a loss of approximately $700 million in

market capitalization. Moreover, shares traded as low as $11.86 per share intraday on February

4, 2021. Additionally, Clover warrants fell $0.18 per warrant, or 5.04%, to close at $3.39 per

warrant on February 4, 2021.

       9.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                               JURISDICTION AND VENUE

       10.    The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by

the SEC (17 C.F.R. § 240.10b-5).

       11.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.



                                               4

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 4 of 25 PageID #: 4
       12.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Clover is headquartered in this Judicial

District, Defendants conduct business in this Judicial District, and a significant portion of

Defendants’ actions took place within this Judicial District.

       13.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

                                            PARTIES

       14.     Plaintiff, as set forth in the attached Certification, acquired Clover securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

       15.     Defendant Clover is a Delaware corporation with principal executive offices

located at 725 Cool Springs Boulevard, Suite 320, Franklin, Tennessee 37067. The Company’s

securities trade in an efficient market on the Nasdaq Stock Market (“NASDAQ”) under the ticker

symbols “CLOV” and “CLOVW”. Prior to the Business Combination, the Company (i.e., SCH)

was a Cayman Islands corporation with principal executive offices located at 317 University

Avenue, Suite 200, Palo Alto, California 94301, and its securities traded on the New York Stock

Exchange (“NYSE”) under the ticker symbols “IPOC.U”, “IPOC”, and “IPOC WS”.

       16.     Defendant Vivek Garipalli (“Garipalli”) has served as the Company’s Chief

Executive Officer (“CEO”) and Chairman of the Board of Directors (“Chairman”) at all relevant

times following the Business Combination.        Garipalli also served as Legacy Clover’s Co-

Founder and CEO at all relevant times prior to the Business Combination.



                                                 5

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 5 of 25 PageID #: 5
       17.     Defendant Andrew Toy (“Toy”) has served as the Company’s President, Chief

Technology Officer (“CTO”), and a Director of the Company at all relevant times following the

Business Combination. Toy also served as Legacy Clover’s Co-Founder, President, CTO, and a

Director of Legacy Clover at all relevant times prior to the Business Combination.

       18.     Defendant Chamath Palihapitiya (“Palihapitiya”) served as the Company’s CEO

and Chairman at all relevant times prior to the Business Combination.

       19.     Defendant Steven Trieu (“Trieu”) served as the Company’s Chief Financial

Officer at all relevant times prior to the Business Combination.

       20.     Defendant Ian Osborne (“Osborne”) served as the Company’s President and a

Director of the Company at all relevant times prior to the Business Combination.

       21.     Defendant Jacqueline D. Reses (“Reses”) served as a Director of the Company at

all relevant times prior to the Business Combination.

       22.     Defendant Dr. James Ryans (“Ryans”) served as a Director of the Company at all

relevant times prior to the Business Combination.

       23.     Defendants Garipalli, Toy, Palihapitiya, Trieu, Osborne, Reses, and Ryans are

sometimes referred to herein as the “Individual Defendants.”

       24.     The Individual Defendants possessed the power and authority to control the

contents of Clover’ SEC filings, press releases, and other market communications.             The

Individual Defendants were provided with copies of Clover’ SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Clover, and their access to material information available to them but not to the public, the

Individual Defendants knew that the adverse facts specified herein had not been disclosed to and



                                                6

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 6 of 25 PageID #: 6
were being concealed from the public, and that the positive representations being made were

then materially false and misleading.      The Individual Defendants are liable for the false

statements and omissions pleaded herein.

       25.      Clover and the Individual Defendants are collectively referred to herein as

“Defendants.”

                              SUBSTANTIVE ALLEGATIONS

                                           Background

       26.      SCH was a publicly-traded blank check company, also known as an SPAC,

formed for the purpose of effecting a merger, share exchange, asset acquisition, share purchase,

reorganization, or similar business combination with one or more businesses.

       27.      On October 6, 2020, SCH and Legacy Clover, which was a private medical

insurance company, announced their plan to conduct the Business Combination to create Clover,

which would become a public medical insurance company.

       28.      Legacy Clover’s (and following the Business Combination, Clover’s) flagship

platform, the Clover Assistant, purportedly aggregates millions of relevant health data points—

including claims, medical charts, and diagnostics—and uses machine learning to synthesize that

data with member-specific information. This purportedly provides physicians with actionable

and personalized insights at the point of care, offering suggestions for medications and dosages

as well as the need for, among other things, tests or referrals, to ultimately improve health

outcomes.

        Materially False and Misleading Statements Issued During the Class Period

       29.      The Class Period begins on October 6, 2020, when SCH and Legacy Clover

announced the Business Combination (the “October 2020 Press Release”). That press release



                                               7

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 7 of 25 PageID #: 7
touted, inter alia, that “[Legacy] Clover is a next-generation Medicare Advantage insurance

company offering best-in-class plans that combine wide access to healthcare and rich

supplemental benefits with low out-of-pocket expenses”; that, with “[a] unique model in health

insurance, [Legacy] Clover partners with primary care physicians using its software platform, the

Clover Assistant, to deliver data-driven, personalized insights at the point of care”; that the

Business Combination “is expected to fuel Clover’s trajectory as one of the nation’s fastest

growing Medicare Advantage plans”; that the Business Combination “values Clover at an

enterprise value of $3.7 billion and is expected to provide up to $1.2 billion in cash proceeds,

including a fully committed PIPE [private investment in public equity] of $400 million and up to

$828 million of cash held in the trust account of [SCH]”; and that Clover was expected to receive

up to $728 million of transaction proceeds and that up to $500 million of cash proceeds were

expected to be allocated to existing Clover shareholders.

       30.     The October 2020 Press Release further stated, in relevant part:

       Technology is at the core of [Legacy] Clover’s business – the Company is a true
       innovator in the Medicare Advantage space, deploying its own internally-
       developed software to assist physicians with clinical decision-making at the point
       of care.

       [Legacy] Clover’s flagship platform, the Clover Assistant, aggregates millions of
       relevant health data points – including claims, medical charts and diagnostics,
       among others – and uses machine learning to synthesize that data with member-
       specific information. This provides physicians with actionable and personalized
       insights at the point of care, offering suggestions for medications and dosages as
       well as the need for tests or referrals, among others, to ultimately improve health
       outcomes. The Clover Assistant enables a virtuous growth cycle, whereby
       improved health outcomes lead to superior economics that the Company shares
       with members through lower costs and rich benefits. In turn, the Company
       believes its best-in-class plans will continue to deliver market-leading growth,
       allowing the Clover Assistant to capture and synthesize more data and ultimately
       drive better care.

                                              ***



                                                8

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 8 of 25 PageID #: 8
       Today, [Legacy] Clover is the fastest growing Medicare Advantage insurer in the
       United States – among insurers with more than 50,000 members – and serves
       more than 57,000 members in 34 counties across 7 states. Spurred by favorable
       demographic tailwinds and its differentiated, technology-driven approach,
       [Legacy] Clover has captured an average of 50 percent of the net increase in
       membership across its established markets over the last three years. Further, the
       Company’s software-centric approach enables efficient expansion into new
       markets, including to historically underserved and rural communities. The
       Company plans to expand into an additional 74 counties and eighth state next year
       and recently announced a new partnership with Walmart to make joint Clover-
       Walmart plans available to half a million Medicare-eligibles in eight Georgia
       counties.

       [Legacy] Clover’s management team, led by CEO and Co-Founder Vivek
       Garipalli and President and Co-Founder Andrew Toy, will continue to lead Clover
       following the transaction. Chamath Palihapitiya, Founder and CEO of SCH, will
       act as a senior advisor to the Company’s management.

       31.    The October 2020 Press Release also quoted Defendant Toy, who stated:

       I believe that more and more doctors are embracing the Clover Assistant because
       it allows them to focus on what they want to do, which is to look after patients.
       Importantly, the platform is empowered by a closed feedback loop, linking
       clinical data and physician action, which improves continuously as membership
       grows, allowing us to constantly evolve new ways of helping physicians and their
       patients.

       32.    Also on October 6, 2020, SCH and Legacy Clover filed the Agreement and Plan

of Merger as an Exhibit to a Form 425 Prospectus with the SEC. Sec. 4.30(a) (“Healthcare

Compliance”) of this Agreement and Plan of Merger provided, in relevant part, that “[e]ach of

[Legacy Clover] and its Subsidiaries (i) in all material respects meets and complies with, and

since January 1, 2018, has met and complied with, all applicable Laws, including all Health Care

Laws, and other requirements for participation in, and receipt of payment from, the Medicare

Advantage Program.” Elsewhere in the Agreement and Plan of Merger, “Health Care Laws” is

defined to include, inter alia, the Federal False Claims Act, the Federal Anti-Kickback Law, and

many other related laws.




                                               9

     Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 9 of 25 PageID #: 9
       33.     Sec. 4.30(d) of the Agreement and Plan of Merger provided, in relevant part, that

“[s]ince January 1, 2018 . . . each of [Legacy Clover] and its Subsidiaries has implemented and

maintained a compliance program, including policies, procedures and training, intended to

ensure compliance with all applicable Health Care Laws.”

       34.     That same day, Defendant Palihapitiya was interviewed on CNBC, wherein he

touted Legacy Clover and the Business Combination, representing, in relevant part, that “[w]hat

we have is a business that’s actually delivering the promise of technology-improving, better

outcomes and lower cost health care,” and that “[t]his is one of the most straightforward

investments I’ve ever made,” while also indicating that by 2023 the Company would have

overall profitability. Defendant Palihapitiya further stated that Legacy Clover was not engaged

in the practice of “upcoding,” or inputting inaccurate medical information to increase

reimbursement from government payors such as Medicare. Specifically, with respect to Legacy

Clover, Defendant Palihapitiya stated, in relevant part: “They create transparency. They don’t

play games. They don’t motivate doctors to upcode or do all kinds of things in order to get paid.”

Additionally, Defendant Palihapitiya stated that SCH was “really excited after months of

diligence and work to announce [the] merger between IPOC and [Legacy Clover] to take

[Legacy Clover] public.”

       35.     On October 20, 2020, SCH filed a registration statement on Form S-4 with the

SEC in connection with the Business Combination (the “Registration Statement”), which was

signed by Defendants Palihapitiya, Trieu, Osborne, Reses, and Ryans.         In the Registration

Statement, SCH and Legacy Clover represented that they had discussed “typical due diligence,”

and that “[f]rom August 25, 2020 to August 28, 2020,” SCH, Legacy Clover, and their legal

representatives “held a meeting via video teleconference to discuss certain preliminary



                                               10

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 10 of 25 PageID #: 10
healthcare regulatory and compliance due diligence matters, given the regulated nature of

[Legacy] Clover’s business.” This document further provided that on August 27, 2020, SCH’s

legal counsel was “provided with access to a virtual data room of [Legacy] Clover and began

conducting a preliminary legal due diligence review of [Legacy] Clover.” The Registration

Statement further provided that representatives of SCH and Legacy Clover met several other

times to discuss, inter alia, due diligence review and matters associated therewith.

       36.     The Registration Statement further provided that, in reaching its recommendation

to pursue the Business Combination with Legacy Clover, the Company’s Board of Directors:

       [C]onsidered the scope of the due diligence conducted by SCH’s senior
       management and outside advisors and evaluated the results thereof and
       information available to it related to [Legacy] Clover, including: (a) extensive
       virtual meetings and calls with [Legacy] Clover’s management team regarding its
       operations, projections and the proposed transaction; and (b) review of materials
       related to [Legacy] Clover and its business, made available by [Legacy] Clover,
       including financial statements, material contracts, key metrics and performance
       indicators, benefit plans, employee compensation and labor matters, intellectual
       property matters, real property matters, information technology, privacy and
       personal data, litigation information, healthcare matters and other regulatory and
       compliance matters and other legal and business diligence.

       37.     Additionally, the Registration Statement represented that “[w]e work diligently to

ensure compliance with all applicable laws and regulations.” The Company repeated this same

sentence in several other public SEC filings during the Class Period, including in at least a

January 13, 2021 Form S-1 Registration Statement and a January 29, 2021 Form 424B3

Prospectus.

       38.     On November 19, 2020, SCH filed a presentation with the SEC entitled “Clover

Health: A Deeper Dive.” This presentation lauded Legacy Clover’s “Virtuous Growth Cycle.”

The presentation further asserted that “Physicians Value the Clover Assistant,” and that “[i]n ~2

years since product launch, we’ve built a broad base of engaged physicians. Given our software-



                                                11

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 11 of 25 PageID #: 11
driven approach, we believe we can scale these results rapidly within existing and new markets.”

This presentation further stated that physicians were “[i]ncentivized to use [Legacy Clover’s]

highly delightful tech platform . . . that suggests personalized care recommendations at the point

of care” and that the platform was “[d]esigned to work with any PCP and remove financial

concerns from clinical decision-making.”

       39.     On January 7, 2021, the Company announced the completion of the Business

Combination. Defendant Garipalli stated in this release:

       As a public company, we will continue to pioneer a fundamentally different
       approach in the Medicare Advantage and Medicare space – investing in
       technology and partnering closely with physicians to help them make critical
       decisions for their patients at the point of care – with an overarching commitment
       to creating value for all stakeholders.

       40.     The statements referenced in ¶¶ 29-39 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operations, and compliance policies.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

(i) SCH had performed inadequate due diligence into Legacy Clover prior to the Business

Combination, or else ignored and/or failed to disclose multiple red flags concerning Legacy

Clover’s business and operations; (ii) since before the Business Combination, Legacy Clover

and/or Clover have been under active investigation by the DOJ for multiple issues ranging from

kickbacks to marketing practices to undisclosed third-party deals; (iii) Legacy Clover’s and/or

Clover’s sales were, and/or are, driven in large part by an undisclosed related party deal,

misleading marketing targeting the elderly, and other illicit practices; (iv) Defendants overstated

the capabilities of the Company’s technology, which Legacy Clover and/or Clover paid doctors




                                                12

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 12 of 25 PageID #: 12
to use; and (v) as a result, the Company’s public statements were materially false and misleading

at all relevant times.

                                      The Truth Emerges

          41.   On February 4, 2021, Hindenburg issued a report on Clover entitled “Clover

Health: How the ‘King of SPACs’ Lured Retail Investors Into a Broken Business Facing an

Active, Undisclosed DOJ Investigation.” Citing “more than a dozen interviews with former

employees, competitors, and industry experts, dozens of calls to doctor’s offices, and a review of

thousands of pages of government reports, insurance filings, regulatory filings, and company

marketing materials,” Hindenburg claimed that “Clover Health and its Wall Street celebrity

promoter, Chamath Palihapitiya, misled investors about critical aspects of Clover’s business in

the run-up to the company’s SPAC go-public transaction last month.”

          42.   Hindenburg continued: “[c]ritically, Clover has not disclosed that its business

model and its software offering, called the Clover Assistant, are under active investigation by the

[DOJ], which is investigating at least 12 issues ranging from kickbacks to marketing practices to

undisclosed third-party deals, according to a Civil Investigative Demand . . . we obtained.”

Hindenburg wrote that the DOJ’s “Civil Investigative Demand and the corresponding

investigation present a potential existential risk for a company that derives almost all of its

revenue from Medicare, a government payor. Our research indicates that the investigation has

merit.”

          43.   In its report, Hindenburg provided a link to a partially-redacted version of the

Civil Investigative Demand that Hindenburg had obtained. The Civil Investigative Demand

provided that the DOJ was engaged in “a False Claims Act investigation” that “generally

concerns whether Clover Health Investment Corporation and/or related entities improperly



                                                13

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 13 of 25 PageID #: 13
induced patient referrals for services paid for by Federal agencies.” Among the twelve specific

topics that the DOJ sought information from Clover on were: (i) Clover’s payments to healthcare

providers to induce those providers to recruit patients to Clover’s Medicare Advantage plans; (ii)

Clover’s activities intended to encourage providers to refuse to accept patients with non-Clover

coverage; (iii) Clover’s payments to providers’ staff and employees for conveying any

information relating to Clover plans to patients in providers’ offices; (iv) payments related to

Clover Assistant; (v) Clover’s patient recruitment efforts; (vi) Clover’s activities relating to

matching patients with Medicare Advantage plans; and (vii) the “Seek Medicare” online

platform.

       44.     The Hindenburg report continued, in relevant part:

       Clover claims that its best-in-class technology fuels its sales growth. We found
       that much of Clover’s sales are driven by a major undisclosed related party deal
       and misleading marketing targeting the elderly. These practices should not come
       as a surprise, given that in 2016, [Legacy] Clover was fined for misleading
       marketing practices by the Centers for Medicare & Medicaid Services (CMS).
       The fine was issued after [Legacy] Clover’s repeated failure to amend misleading
       statements about its plan offerings. A former employee told us the fine was so
       small it just emboldened [Legacy] Clover to push the envelope further.

       45.     In its report, Hindenburg further flagged Clover’s “thinly-disclosed subsidiary

called ‘Seek Insurance.’” Hindenburg noted that “Seek makes no mention of its relationship

with Clover on its website yet misleading advertises to seniors that it offers ‘independent’ and

‘unbiased’ advice on selecting Medicare plans” and that Seek “claims, ‘We don’t work for

insurance companies. We work for you’, despite literally being owned by Clover, an insurance

company. [Seek’s] activities are also under investigation by the DOJ.”

       46.     The Hindenburg report further noted that “[m]ultiple former employees explained

that much of Clover’s sales are fueled by a major undisclosed relationship between Clover and

an outside brokerage firm controlled by Clover’s Head of Sales, Hiram Bermudez”; that “[o]ne

                                               14

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 14 of 25 PageID #: 14
former employee estimated Bermudez drove ~68% of Clover’s total sales, though was unclear on

the amount coming from the undisclosed relationship”; that “[o]ne of the former employees

[interviewed by Hindenburg] explained that Clover’s Head of Sales took efforts to conceal the

relationship by putting it in his wife’s name ‘for compliance purposes’”; that “[i]nsurance filings

confirm this”; and that “[t]he Clover contract was quietly put into his wife’s name in the weeks

after Clover’s go-public announcement.”

       47.     According to the Hindenburg report, “[i]n a CNBC interview announcing the

Clover transaction, Chamath proclaimed, unprompted, ‘they create transparency . . . they don’t

motivate doctors to upcode or do all kinds of things to get paid’” and that “[a] former employee

explained to [Hindenburg] that the DOJ is specifically asking about upcoding, or the practice of

overbilling Medicare.” Indeed, “[m]uliple former employees explained” to Hindenburg “that

Clover’s software is primarily a tool to help the company increase coding reimbursement.”

       48.     Furthermore, Hindenburg wrote that “according to doctors and former employees

we interviewed,” physicians use Clover’s software “because Clover pays them extra to use it.

Physicians are paid $200 per visit to use the software, twice the normal reimbursement rate for a

Medicare visit.”    Rather than being “delight[ed]” by Clover’s technology, “[d]octors at key

Clover providers described the software as ‘embarrassingly rudimentary’, ‘a waste of my time’

and as just another administrative hassle to deal with.”

       49.     Hindenburg also noted that Defendant Palihapitiya’s firm, SCH, invested just

$25,000 and agreed that Palihapitiya would promote the Clover SPAC in exchange for an

eventual 20.5 million in “founders shares” (worth approximately $290 million today).

       50.     On this news, Clover’s stock price fell $1.72 per share, or 12.33%, to close at

$12.23 per share on February 4, 2021, representing a loss of approximately $700 million in



                                                15

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 15 of 25 PageID #: 15
market capitalization. Moreover, shares traded as low as $11.86 per share intraday on February

4, 2021. Additionally, Clover warrants fell $0.18 per warrant, or 5.04%, to close at $3.39 per

warrant on February 4, 2021.

       51.       Then, on February 5, 2021, before the market opened, Clover filed a Form 8-K

disclosing that the SEC was conducting an “investigation and requesting document and data

preservation for the period from January 1, 2020, to the present, relating to certain matters that

are referenced in the [Hindenburg report].”

       52.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       53.       Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired Clover securities during the Class Period (the “Class”); and were damaged

upon the revelation of the alleged corrective disclosures.        Excluded from the Class are

Defendants herein, the officers and directors of the Company, at all relevant times, members of

their immediate families and their legal representatives, heirs, successors or assigns and any

entity in which Defendants have or had a controlling interest.

       54.       The members of the Class are so numerous that joinder of all members is

impracticable.    Throughout the Class Period, Clover securities were actively traded on the

NASDAQ and NYSE. While the exact number of Class members is unknown to Plaintiff at this

time and can be ascertained only through appropriate discovery, Plaintiff believes that there are

hundreds or thousands of members in the proposed Class. Record owners and other members of



                                                16

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 16 of 25 PageID #: 16
the Class may be identified from records maintained by Clover or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       55.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       56.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       57.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                whether the federal securities laws were violated by Defendants’ acts as alleged
                  herein;

                whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the business, operations and
                  management of Clover;

                whether the Individual Defendants caused Clover to issue false and misleading
                  financial statements during the Class Period;

                whether Defendants acted knowingly or recklessly in issuing false and misleading
                  financial statements;

                whether the prices of Clover securities during the Class Period were artificially
                  inflated because of the Defendants’ conduct complained of herein; and

                whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.

       58.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

                                                  17

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 17 of 25 PageID #: 17
the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        59.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                 Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

                 the omissions and misrepresentations were material;

                 Clover securities are traded in an efficient market;

                 the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

                 the Company traded on the NASDAQ and NYSE and was covered by multiple
                    analysts;

                 the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

                 Plaintiff and members of the Class purchased, acquired and/or sold Clover
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        60.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        61.       Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.


                                                   18

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 18 of 25 PageID #: 18
                                           COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        62.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        63.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        64.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the

other members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and employed devices, schemes and artifices to

defraud in connection with the purchase and sale of securities. Such scheme was intended to,

and, throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and

other Class members, as alleged herein; (ii) artificially inflate and maintain the market price of

Clover securities; and (iii) cause Plaintiff and other members of the Class to purchase or

otherwise acquire Clover securities and options at artificially inflated prices. In furtherance of

this unlawful scheme, plan and course of conduct, Defendants, and each of them, took the

actions set forth herein.

        65.     Pursuant to the above plan, scheme, conspiracy, and course of conduct, each of

the Defendants participated directly or indirectly in the preparation and/or issuance of the

quarterly and annual reports, SEC filings, press releases and other statements and documents

described above, including statements made to securities analysts and the media that were

                                               19

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 19 of 25 PageID #: 19
designed to influence the market for Clover securities.        Such reports, filings, releases and

statements were materially false and misleading in that they failed to disclose material adverse

information and misrepresented the truth about Clover’ finances and business prospects.

        66.         By virtue of their positions at Clover, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

        67.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Clover, the Individual Defendants had knowledge of the details of Clover’

internal affairs.

        68.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.        Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Clover. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Clover’ businesses,

operations, future financial condition and future prospects. As a result of the dissemination of

the aforementioned false and misleading reports, releases and public statements, the market price



                                                  20

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 20 of 25 PageID #: 20
of Clover securities was artificially inflated throughout the Class Period. In ignorance of the

adverse facts concerning Clover’ business and financial condition which were concealed by

Defendants, Plaintiff and the other members of the Class purchased or otherwise acquired Clover

securities at artificially inflated prices and relied upon the price of the securities, the integrity of

the market for the securities and/or upon statements disseminated by Defendants, and were

damaged thereby.

       69.     During the Class Period, Clover securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Clover securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff

and the other members of the Class known the truth, they would not have purchased or otherwise

acquired said securities, or would not have purchased or otherwise acquired them at the inflated

prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class,

the true value of Clover securities was substantially lower than the prices paid by Plaintiff and

the other members of the Class. The market price of Clover securities declined sharply upon

public disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

       70.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

       71.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure



                                                  21

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 21 of 25 PageID #: 21
that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

          72.   Plaintiff repeats and re-alleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

          73.   During the Class Period, the Individual Defendants participated in the operation

and management of Clover, and conducted and participated, directly and indirectly, in the

conduct of Clover’ business affairs. Because of their senior positions, they knew the adverse

non-public information about Clover’ misstatement of income and expenses and false financial

statements.

          74.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Clover’

financial condition and results of operations, and to correct promptly any public statements

issued by Clover which had become materially false or misleading.

          75.   Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which Clover disseminated in the marketplace during the Class Period

concerning Clover’ results of operations.            Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Clover to engage in the wrongful acts

complained of herein. The Individual Defendants, therefore, were “controlling persons” of

Clover within the meaning of Section 20(a) of the Exchange Act.             In this capacity, they




                                                 22

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 22 of 25 PageID #: 22
participated in the unlawful conduct alleged which artificially inflated the market price of Clover

securities.

        76.       Each of the Individual Defendants, therefore, acted as a controlling person of

Clover. By reason of their senior management positions and/or being directors of Clover, each

of the Individual Defendants had the power to direct the actions of, and exercised the same to

cause, Clover to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Clover and possessed the

power to control the specific activities which comprise the primary violations about which

Plaintiff and the other members of the Class complain.

        77.       By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Clover.


                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.        Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

        B.        Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;

        C.        Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

        D.        Awarding such other and further relief as this Court may deem just and proper.

                                DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.


                                                    23

    Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 23 of 25 PageID #: 23
Dated: February 22, 2021

                                          Respectfully submitted,
                                          s/Paul Kent Bramlett
                                          Paul Kent Bramlett
                                          TN #7387/MS #4291
                                          Robert Preston Bramlett
                                          TN #25895
                                          BRAMLETT LAW OFFICES
                                          P. O. Box 150734
                                          Nashville, TN 37215-0734
                                          Telephone:    615.248.2828
                                          Facsimile:    866.816.4116
                                          Emails:       PKNASHLAW@aol.com
                                                 Robert@BramlettLawOffices.com

                                          POMERANTZ LLP
                                          Jeremy A. Lieberman
                                          (pro hac vice application forthcoming)
                                          J. Alexander Hood II
                                          (pro hac vice application forthcoming)
                                          James M. LoPiano
                                          (pro hac vice application forthcoming)
                                          600 Third Avenue
                                          New York, New York 10016
                                          Telephone: (212) 661-1100
                                          Facsimile: (212) 661-8665
                                          jalieberman@pomlaw.com
                                          ahood@pomlaw.com
                                          jlopiano@pomlaw.com


                                          POMERANTZ LLP
                                          Patrick V. Dahlstrom
                                          (pro hac vice application forthcoming)
                                          10 South La Salle Street, Suite 3505
                                          Chicago, Illinois 60603
                                          Telephone: (312) 377-1181
                                          Facsimile: (312) 377-1184
                                          pdahlstrom@pomlaw.com

                                          HOLZER & HOLZER, LLC
                                          Corey D. Holzer
                                          (pro hac vice application forthcoming)
                                          211 Perimeter Center Parkway, Suite 1010
                                          Atlanta, Georgia 30346

                                     24

   Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 24 of 25 PageID #: 24
                                       Telephone: (770) 392-0090
                                       Facsimile: (770) 392-0029
                                       cholzer@holzerlaw.com

                                       Attorneys for Plaintiff




                                  25

Case 3:21-cv-00138 Document 1 Filed 02/22/21 Page 25 of 25 PageID #: 25
